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               DISTRICT COURT OF THE VIRGIN ISLANDS
                DIVISION OF ST. THOMAS AND ST. JOHN


                                    )
UNITED STATES OF AMERICA,           )
                                    )
               Plaintiff,           )
                                    )           Criminal No. 2010-36
               v.                   )
                                    )
ENID EDWARDS,                       )
FRANCIS BROOKS, and                 )
BILL JOHN-BAPTISTE,                 )
                                    )
               Defendants.          )
___________________________________ )

ATTORNEYS:
Kim Lindquist, AUSA
St. Thomas, U.S.V.I.
     For the plaintiff,
Jay I. Shreenath, Esq.
Austell, GA
     For defendant Enid Edwards,

George H. Hodge, Jr., Esq.
St. Thomas, U.S.V.I.
     For defendant Francis Brooks,

Robert L. King, Esq.
St. Thomas, U.S.V.I.
     For defendant Bill John-Baptiste.


                                  ORDER

     Before the Court is the motion of Bill John-Baptiste (“John-

Baptiste”) to dismiss certain charges against him on the grounds

that they are multiplicitous.


                                I. FACTS
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      John-Baptiste, Francis Brooks (“Brooks”), and Enid Edwards

(“Edwards”) (collectively, the “Defendants”) were initially

indicted on June 24, 2010. A superseding indictment was filed on

September 2, 2010, in which John-Baptiste was charged in a total

of ten counts. Count Twenty-Three charges John-Baptiste with

inducing an alien in violation of 8 U.S.C. §§ 1324(a)(1)(A)(iv)

and (v)(II). Count Twenty-Four charges John-Baptiste with

racketeering extortion conspiracy in violation of 18 U.S.C. §

1951(a). Count Twenty-Five charges John-Baptiste with

racketeering extortion in violation of 18 U.S.C. §§ 1951(a) and

2. Count Twenty-Six charges John-Baptiste with conspiratorial

kidnaping, extortion, solicitation and receipt of a bribe, and

conflict of interest in violation of 14 V.I.C. § 551. Count

Twenty-Seven charges John-Baptiste with kidnaping in violation of

14 V.I.C. §§ 1051 and 11. Count Twenty-Eight charges John-

Baptiste with kidnaping for extortion in violation of 14 V.I.C.

§§ 1052(a) and 11. Count Twenty-Nine charges John-Baptiste with

extortion in violation of 14 V.I.C. §§ 701 and 11. Count Thirty

charges John-Baptiste with solicitation and receipt of a bribe in

violation of 14 V.I.C. §§ 403 and 11. Count Thirty-One charges

John-Baptiste with conflict of interest in violation of 3 V.I.C.

§§ 1102(3) and 1108 and 14 V.I.C. § 11. Count Thirty-Two charges

John-Baptiste with aggravated assault and battery in violation of
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14 V.I.C. §§ 292 and 298(5). Count Thirty-Three charges John-

Baptiste with unlawful sexual contact in the first degree in

violation of 14 V.I.C. §§ 1699(c) and 1708(4). All of the charges

against John-Baptiste stem from an allegedly extortionate

transaction on April 2, 2008, while the charges against Brooks

and Edwards involve the events of April 2, 2008, but also include

alleged events beginning in 2000 and continuing through March of

2008.


                              II. DISCUSSION


      The Double Jeopardy Clause protects criminal defendants from

multiple prosecutions for the same offense. See U.S. CONST.

amend. V (“[N]or shall any person be subject for the same offence

to be twice put in jeopardy of life or limb.”). In a jury trial,

Double Jeopardy rights do not attach until the jury is empaneled

and sworn. Gómez v. United States, 490 U.S. 858 (1989).


      “A multiplicitous indictment charges the same offense in two

or more counts and may lead to multiple sentences for a single

violation, a result prohibited by the Double Jeopardy Clause.”

United States v. Pollen, 978 F.2d 78, 83 (3d Cir. 1992) (citing

United States v. Stanfa, 685 F.2d 85, 86-87 (3d Cir. 1982)). “The

interest protected by the Double Jeopardy Clause in this multiple

punishment context is confined to ‘ensuring that the total
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punishment did not exceed that authorized by the legislature.’”

Id. (quoting Jones v. Thomas, 491 U.S. 376, 381, 109 S. Ct. 2522,

105 L. Ed. 2d 322 (1989));         Georges v. Gov’t of V.I., 119

F.Supp.2d 514, 524-25(D.V.I. App. Div. 2000)(“[W]hile concurrent

prosecution under a single information for crimes out of a single

transaction does not subject a defendant to double jeopardy,

multiple punishment for the same offense does.”).

      “Where the same act or transaction constitutes a violation

of two distinct statutory provisions, the test to be applied to

determine whether there are two offenses or only one, is whether

each provision requires proof of a fact which the other does

not.” Blockburger v. United States, 284 U.S. 299, 304, 52 S. Ct.

180, 76 L. Ed. 306 (1932); see also United States v. Hodge, 211

F.3d 74, 78 (3d Cir. 2000) (“To determine whether the offenses

grow out of the same occurrence, we apply the test set forth in

Blockburger.”). “If each statute requires proof of an additional

fact which the other does not, an acquittal or conviction under

either statute does not exempt the defendant from prosecution and

punishment under the other.” Blockburger, 284 U.S. at 304

(citations and quotation marks omitted). “The elements of the

offense are compared in the abstract, without looking to the

facts of the particular case.” Gov’t of the Virgin Islands v.

Bedford, 671 F.2d 758, 765 (3d Cir. 1982) (citations omitted)..
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                               III. ANALYSIS


      In order to demonstrate that the charges against him are

multiplicitous, John-Baptiste must demonstrate they fail the

Blockburger test. Remarkably, John-Baptiste concedes that the

charges against him satisfy the Blockburger requirements. He

states that he “acknowledg[es] that each Count requires different

proof.” John-Baptiste’s Mem. Supp. Mot. Dismiss 5. It seems that

John-Baptiste presumes that the charges against him are

multiplicitous because of their numerosity. As such, John-

Baptiste argues that he is prejudiced by the factual

multiplicitousness of the charges against him rather than by any

potential Double Jeopardy multiplicitousness.

      The Court agrees with John-Baptiste to the extent that he

asserts that the charges against him each require the proof of

different elements. Indeed, there is no violation of Blockburger

under these circumstances. United States v. Hoffman, 148 Fed.

Appx. 122, 128-29 (3d Cir. 2005) (unpublished) (“Because each

charge contains different elements, the counts are not

multiplicitous and did not subject [the defendant] to double

jeopardy.”), cert. denied, 546 U.S. 1050, 126 S. Ct. 778, 163 L.

Ed. 2d 603 (2005); United States v. Cauble, 706 F.2d 1322, 1335

(5th Cir. 1983) (“These are plainly different offenses, requiring
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proof of different elements, so the counts are not

multiplicitous.”), cert. denied, 465 U.S. 1005, 104 S. Ct. 996,

79 L. Ed. 2d 229 (1984).

      To the extent that John-Baptiste asserts that he is entitled

to relief because the charges against him are multiplicitous in

number, the Court is unpersuaded that relief is appropriate. The

mere fact that there are multiple legally sufficient charges

against a defendant does not in and of itself create a

Constitutionally defective indictment.


                              IV. CONCLUSION

      The premises considered, it is hereby

      ORDERED that John-Baptiste’s motion to dismiss is DENIED.




                                         S\
                                                 CURTIS V. GÓMEZ
                                                   Chief Judge
